             Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09   Page 1 of 15



          Kee et al (1996), (abstract) states: "Individuals with DPT demonstrated

 significantly reduced forced vital capacity (FVC) (p=0.002) and diffusing

 capacity for carbon monoxide (DLCO) (p=0.002) as compared with the

 referents.

         Lee et al (2003), p.205, states with regard to 38 subjects with

 Wittenoom crocidolite exposure; "In our study, pleural thickening was

 associated with reduced lung volumes and DLCO (as had been shown by

 others 34,35)."

         Yates (1996), p.304, states with regard to 64 patients with diffuse.

 pleural thickening: "Our study confirms the findings of earlier workers in

that a significant decrement of FEV, and FVC was observed (3-12, 15-22)."

         Kouris et al (1991) studied workers manufacturing wallboard and

ceiling tile, exposed to predominately chrysotile asbestos. 22 subjects had

diffuse pleural thickening. The authors write that "Diffuse thickening was

associated with more profound decreases in FVC and FEV1.0."

        Copley et al (2001), p.240, states regarding a study of 50 patients in

England: "Reductions in residual volume were linked to severity of diffuse

pleural thickening."

        ATS (2004) Official Statement, p.708, finds a decrease in "FEV1/FVC

ratio also occurs in subjects who do not have radiographic evidence of

Expert Report by Dr. Alan C. Whitehouse               15                                   5/16109
Asbestos/ClientIBankruptcylWhltehouse Expert Report
             Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09   Page 2 of 15



 asbestosis (defined as an IlO score exceeding 1/0)," probably indicating a

 reduction due to pleural disease.

         30.      It is common knowledge that there is little correlation between

 radiographs and asbestos pleural disease severity, and certainly none that

 could be applied to individual patients. Miles et al (2008) "Clinical

 Consequences of Asbestos-related Diffuse Pleural Thickening, a Review,"

 p.6, states: "Few longitudinal studies exist, but these have found no

 correlation between radiographic severity and longitudinal loss of lung

function." Yates, et al (1996), 'Asbestos re Bilateral Diffuse Pleural

Thickening: Natural History of Radiographic and lung Function

Abnormalities," p.305, states: "No correlation was observed between

radiographic severity and longitudinal loss of lung function. The chest

radiograph even when accompanied by oblique films was an insensitive

index of disease severity." Similarly, Whitehouse (2004), p.223, states:

There was no statistical correlation between the extent of pleural changes

measured on the chest x-ray and the loss of pulmonary function."

        Similar statements have been presented in studies on the asbestos

insulators. Markowitz et al(1997), p.l06, states: "The chest x-ray can be

normal even in the face of severe interstitial fibrosis." In the Markowitz et al

(1997) study of 74 asbestosis deaths, 11 % (8/74) had minimal or no

Expert Report by Or. Alan C. Whitehouse               16                                   5116109
AsbestoslCliEmtIBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09   Page 3 of 15



  interstitial fibrosis (ILO score of 0/1 or less). Selikoff et al (1964), p.148,

 states: "significant disability may be present with relatively little to be seen

 on x-ray, and, conversely, x-ray changes may be extensive, with little

 functional difficulty."

 E.      CARD Mortality Study

         31.     A mortality study was done on patients of the Center for

 Asbestos Related Disease (CARD) Clinic in Libby. The cohort is all patients

 seen at CARD or by me in Spokane, with an asbestos-related disease

 diagnosis due to exposure to Libby asbestos and chest films. The study was

 done under my supervision.

         Based upon CARD records, a total of 227 patients were identified as

 deceased through 7/9/08. There was no effort to track patients of uncertain

. status. 41 were excluded as having had no diagnosis of asbestos-related

 disease (ARD), no death certificate, no chart and/or no chest film, or as

 having had no exposure pre-1990. The total included in the mortality study

 for analysis is 186.

        Data was gathered from patient charts. Available death certificates

were obtained, including those available through the law firms of McGarvey,

Heberling, Sullivan & McGarvey and Lewis, Slovak & Kovacich.

        I reviewed patient charts and made determinations on whether.


Expert Report by Dr. Alan C. Whitehouse               17                                   5/16109
AsbeslosJClientIBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09   Page 4 of 15



 asbestos-related disease was a significant contributing factor in the death of

 each patient, using a method comparable to the "best available information"

 method described in Selikoff et al (1992), "Use of Death Certificates in

 Epidemiological Studies, Including Occupational Hazards: Variations in

 Discordance of Different Asbestos-Associated Diseases on Best Evidence

 Ascertainment." Since all subjects in the cohort were CARD patients, as

 treating physicians we often had important information in excess of that

 available to Selikoff et al. On the other hand, we did not have all hospital

 records on all the deceased. Where there was uncertainty, such that I could

 not determine that ARD was a significant contributing factor in the death to a

medical probability, I did not call the death as an ARD death. Data is

displayed on the chart "Summary of Mortality Disease Percentages," (Exh. 7).

I determined that 110 of 186 (59%) deceased patients died of asbestos-

related disease - 7 from mesothelioma, 19 from asbestos related lung

cancer, 8 from other asbestos related cancer, and 76 from "asbestosis,"

which is defined as including asbestos related pleural disease per Markowitz

et al (1997) Table 2. Note that non-malignant ARD deaths are generally

coded to ICD-9 501 "Asbestosis." See' Horton et al (2006) which publishes
                                                                              .
Libby ATSDR data. Table 1 "asbestosis" ICD-9 501 includes "known

asbestos-related diseases."


Expert Report by Dr. Alan C. Whitehouse               18                                   5/16109
AsbestoslClientIBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-18        Filed 08/13/09   Page 5 of 15



         Data are displayed on the spreadsheets listed at Exh. 7, a key to

 column headings the spreadsheets is as follows:

         Column                                       Symbols·
         Exposure                                     W = Grace worker (employee)
                                                      Sub = Subcontractor worker at Grace,
                                                              not an employee
                                                      FM = Family member of worker
                                                      C = Community resident other than W
                                                             or FM
         SMK                                          S = current smoker
                                                      N = never smoker
                                                      Q . quit smoking
         Pulm Hyp                                     Pulmonary hypertension
         PFT - Dth months                             Number of months, last PFT to death
         Scales 0,1,2,3                               0, 1 = minimal, 2 = moderate, 3 =
                                                      extensive
         Ext                                          Extent of chest wall

        Other important observations include the following.

         1)      Only 34% (37/110) of those who died of non-malignant disease

were mineworkers. 66% (73/110) were community members and family

members of mineworkers. Exh.7. Many community members had

occupational exposures to Libby asbestos at the lumbermill and other jobs:

        2)      The death rate from asbestos disease was not greatly different

as between mineworkers (69% - 37/54) who generally had heavy exposures,

and community members (51% - 55/108), who had relatively light

exposures.

        3)      Based upon the Dr. Frank chest x-ray readings, 26% (14/54) of


Expert Report by Dr. Alan C. Whitehouse                19                                     5/16109
AsbestoslClientlBankruptcylWhitehouse Expert Report
              Case 01-01139-AMC           Doc 22766-18     Filed 08/13/09   Page 6 of 15



 those who died of non-malignant disease died with pure pleural disease,

 with no interstitial fibrosis on the last chest x-ray. Of the 14, 7 had available

 CT scans. Of the 7, 2 had no interstitial disease on CT scan. Extending the

 above numbers to the 14, probably most of the 14 with no interstitial disease

 on chest x-ray did show some on CT scan. ATS (2004), p.707, reports only

 five total cases of death by pleural disease outside Libby.

         4)       Based upon the chest x-ray readings by Dr. Frank, all but one of

 76 non-malignant ARD deaths had pleural disease to some degree. That

 one had significant interstitial fibrosis on CT scan. Two had no pleural

disease on chest x-ray, but did have significant pleural thickening on CT

scan. 26% (14/54) had no interstitial disease on chest x-ray. 56% (30/54)

had minimal or no· interstitial disease (0/1 or less), ·on chest x-ray. 55%

(37/67) died with moderate or extensive pleural disease (on the

spreadsheets moderate is a "2" and extensive is a "3"). 20 of the 37 (54%),

had minimal or no interstitial fibrosis (ILO 0/1 or less). This means that many

had moderate or extensive pleural disease, and minimal or no interstitial

disease. The above confirms clinical observations that many patients die

with extensive pleural disease and little or no interstitial disease. We find no

similar reports of a high death rate by asbestos pleural disease elsewhere in

the literature.


Expert Report by Dr. Alan C. Whitehouse               20                                   5/16/09
AsbestosiClientiBankruptcylWhitehouse Expert Report
               Case 01-01139-AMC           Doc 22766-18    Filed 08/13/09   Page 7 of 15



          5)      Based upon the Or. Frank chest x-ray readings, 88% (61/69) had

 pleural thickening as defined by ATS (2004), Official Statement, p.707, ~ 28

 above. 12% (8/66) had pleural plaquing. Note that pleural plaquing often

 may not be seen where diffuse pleural thickening is extensive.

         6)       The last pulmonary function test on each non-malignant ARO

 death was reviewed. Using severity designations appropriate·to Libby

 patients, (~ 20 above), the following observations are made per Knudson

 norms for spirometry, Intermountain Thoracic Society for lung volumes and

 Miller for diffusion capacity. Use of Intermountain norms for spirometry and

 diffusion capacitY will result in a significant deCline in percentage predicted:

                  2 normal (FVC, TLC, OLCO all over 79)
                  7 mild (FVC, TLC, or OLCO between 70 and 79)
                 10 moderate (FVC, TLC, orDLCO between 60 and 69)
                 54 severe (FVC, TLC, or OLCO under 60)
                 ~ noPFT
                 76 total

         7)      It is significant that 47% (29/61) had only OLCO under 65,not

FVC or TLC. OLCO is a very important indicator of severity in the Libby

cohort. For the 17 never smokers, the average OLCO on last PFT was 50%

of predicted.

        8)       Of the non-malignant ARD deaths, 36% (26/72) had the FEV ,/FVC

ratio under 65, indicating some obstructive defect.

        9)       Meanage at diagnosis was 69.47. Mean age ai death was 76.1.



Expert Report by Or. Alan C. Whitehouse               21                                   5116109
AsbestoslClientlBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09   Page 8 of 15



  Based upon male life expectancy at diagnosis, an average 7.4 years of life

  expectancy was lost to asbestos disease. See Life Table cited at Exh. 5.

          32.     Comparison of CARD Mortality Study to Insulator Studies. The

 CARD mortality study found that in the group of patients diagnosed with

 ARD who have died, 43% died with ARD as a significant contributing factor

 per death certificate, and 59% died with ARD as a significant contributing

 factor per best available information analysis. Exhibit 7, Summary. The

. 59% death rate from asbestos disease appears to be the highest reported

 for any cohort in the United States.

         The experience of the cohort of asbestos insulation workers provides

 a context for comparison of Libby mortality from asbestos related disease.

 The asbestos insulators had extremely heavy exposures to asbestos dust,

often working in clouds of dust. The Libby patients, on the other hand, are

mostly community members many of whom had relatively light exposure to

asbestos from casual exposure, such as breathing the air in the Libby area.

Only 34% (37/110) olthe Libby patients who died of asbestos disease were

mineworkers.

        The cohort of asbestos insulation workers was first studied in Selikoff

et al (1964). A number of follow-up studies have been performed, including

Selikoff and Seidman· (1991), "Asbestos Associated Deaths Among Insulation

Workers in the U.S. and Canada, 1967-1987." The CARD mortality study data

Expert Report by Dr. Alan C. Whitehouse               22                                   5/16109
AsbestoslClientIBankruptcylWhitehouse Expert Report
             Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09   Page 9 of 15



 have been adjusted for better comparability to the insulator studies, which

 used 'primary cause" of death in best evidence determinations of cause of

 death, and underlying cause in death certificate analysis. See Exhibit 7a.

 Determinations of "primary cause" of death were done conservatively. If

 records were unclear or insufficient, primary cause was not found. The

 results of this mortality study and the CARD mortality study are compared in

 the foHowing table.




Expert Report by Dr. Alan C. Whitehouse               23                                   5/16109
AsbesloS/ClientiBankruptcyJWhitehouse Expert Report
                 Case 01-01139-AMC            Doc 22766-18      Filed 08/13/09   Page 10 of 15



Selikoff and Seidman (1991), p.7, Table 2 summary format; comparison to Libby CARD
mortality study

                           Insulators per DC              CARD per DC     Insulators per   CARD per BAI
                                                          Exh. 7a         BAI              Exh. 7
 Lung cancer               1008     20%                   16      9%      1168     24%      19             10%
 pleural meso                 89      4%                   7      4%       173      9%       7             4%
 peritoneal meso              92                                           285
 GI cancer                  188       4%                   6      3%       189      4%       8             4%'

 asbestosis                 201       4%                  39     21%       427     9%       76             34%
 Total ARD deaths          1578     32%                   68     37%     .2242    45%       110            52%
 All causes               4951 100%                       186   100%     4951    100%       186        100%

DC - death certificate
BAI- best available information

              One problem in comparing the two mortality studies is that in the

      CARD study all patients in the cohort were diagnosed with asbestos-related

      disease (ARD), whereas in Selikoff and Seidman (1991), there is no

      information on whether all the deceased had earlier been diagnosed with

      ARD. It can be estimated from Selikoff and Seidman (1991) that a very'high

      percentage of the insulators who died likely had been diagnosed with ARD.

      From Table 4, we see that 96% (967/1 ,008) of the deaths from lung cancer

      were over 20 years from first exposure. From Table 6, we see that 96%

      (412/427) of the deaths from asbestosis were oVlJr 20 years from first

      exposure. From Selikoff et al (1964), Table 5, we can determine that 86%

      (339/392) of those workers over 20 years from first exposure had abnormal


     Expert Report by Dr. Alan C. Whitehouse               24                                    5/16109
     AsbestosiClienUBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-18      Filed 08/13/09   Page 11 of 15



 chest x-rays. With the abnormal chest x-ray and exposure history, there is a

 likelihood of diagnosis of ARD. We conclude that the results displayed in

 the table above for the two studies are comparable. Even if we subtract 5%

 from the CARD death rate (since all CARD patients were diagnosed with

 ARD), the CARD death rate is still significantly higher than the insulators'

 death rate, despite the relatively light exposure of the CARD patients.

         The Libby death rate from ARD is 52% per primary cause and best

.available information with 37% per underlying cause on death certificates.

The insulators' death rate from ARD is 45% per best available information

and 32% per death certificates. With a death rate higher than even the

 insulators cohort, it is apparent that exposure to Libby asbestos is

considerably more toxic to humans than was the predominately chrysotile

asbestos exposure of the insulation workers. (Regarding fiber type, see

Seidman and Selikoff (1990), p.311).

         Markowitz et at (1997), "Clinical Predictors of Mortality from Asbestosis

in the North American Insulators Cohort, 1981 to 1991," followed 2,609

insulators examined in 1981 to 1983. The CARD mortality study may be

compared to the Markowitz et al mortality study on asbestos insulators. The

abstract states: "Seventy-four (11.0%) of 674 deaths during the subsequent

10 years were due to asbestosis, according to the best clinical and

radiological evidence available at the time of death." The CARD mortality


Expert Report by Dr. Alan C. Whitehouse               25                                    5/16109
AsbestosiClientIBankruptcylWhilehouse Expert Report
            Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09    Page 12 of 15



 study used similar methods. Results are compared as follows:



                                                          Markowitz et al       CARD
                                                          (1997)                Mortality
                                                                                Study
   Mean age at examination                                57.5                  69.5
   Mean age at death                                      65.9                  76.1
  Years exam .16 death                                     8.4        ..         6.6
  Asbestosis deaths                                       74                    62
  Asbestosis deaths as % of total deaths                  11%                   34%
  No pleural abnormalities on CXR                         11%                    1%
  No interstitial abnormalities on CXR                    4%                    34%
  Interstitial 0/1 or less on CXR                         11%                   36%
  Interstitial 2/1 or more on CXR                         55%                   19%

         Though the studies differ in minor respects, they are epidemiologically

comparable. Markowitz et al (1997) followed individual insulators for 10

years in sequence. In the CARD study, patients were followed from

diagnosis to death, a period averaging 6.6 years, but in some cases was

over 10.years. These studies are nevertheless comparable. Both studies

used the designation "asbestosis," despite varying degrees of pleural and

interstitial disease.

        The insulators had predominately inteistitial disease, whereas the

CARD patients had predominately pleural disease. The insulators were

about 3x as like/yto have severe interstitial disease (55% to 19%). The



Expert Report by Dr. Alan C. Whitehouse              26                                     5/16109
AsbeslosiCrientIBankruptcyfINhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-18     Filed 08/13/09   Page 13 of 15



 CARD patients were about 3x as likely to have minimal interstitial disease

 (36% to 11 %). Of the insulators group, 11 % (8n4) were category zero for

 interstitial fibrosis. Of the eight in this group, seven had pleural thickening.

 Markowitz et al (1997), p.l04. Of the CARD patients, 34% (24n1) were

 category zero for interstitial fibrosis on chest x-ray. All but one of the 24 had

 pleural disease on chest x-ray, and that one had both pleural and interstitial

 disease on CT scan.

         Markowitz et al (1997) does not state the number who were diagnosed

with asbestos-related disease on examination in 1981 to 1983. As discussed

above, it is known that the incidence of asbestos-related disease was very

high in the insulators with 30 years exposure. All patients in the CARD

mortality study were diagnosed with asbestos-related disease.

        The most striking observation is that the CARD patients' death rate

from "asbestosis" is about 3x that of the insulators (34% to 11 %). This result

appears despite the important difference in exposure levels. 62% (47/76) of

the CARD patients were family or community members with relatively light

exposures (Exh. 7), whereas the insulators had industrial exposures to

asbestos which were generally quite extreme. In the CARD mortality

studies, persons who were not mineworkers or family members of

mineworkers, were designated as "community members." Some had

occupational exposures.


Expert Report by Dr. Alan C. Whitehouse             27                                    5/16109
AsbestosiCHenUBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC           Doc 22766-18      Filed 08/13/09   Page 14 of 15



          It is also observed that the CARD patients once diagnosed have a

 probability of death by asbestos-related disease, whereas the insulators do

 not. Markowitz et al (1997), Table 2, shows that no category (except ILO 3/4

 which is exceedingly rare) of interstitial or pleural disease brings a

 probability of death.

 F.      Libby asbestos is highly toxic.

         33.     Many studies have been done on Libby asbestos and its toxicity.

 See the attached listing: "Libby Studies."

         34.     There generally appears to be a distinct pattern for Libby

 asbestos disease. The disease appears to be predominately pleural, for the

 large portion of the time that people have the.disease. In the Whitehouse

 (2004) study, 55% of the patients followed had no interstitial disease and

45% had only minimal interstitial disease. The percentage of patients in the

overall patient cohort with no significant interstitial disease is even higher

now, asmore recent diagnoses include many people inthe early course of

the disease. By contrast, lung function loss in asbestos disease from

predominately chrysotile exposures is mainly secondary to interstitial

disease. In the Libby cohort, interstitial disease generally becomes

radiographically visible rather late in the process, and frequently is only a

minor factor.

        Consistent with the pleural pattern, in the CARD mortality study 43%


Expert Report by Dr. Alan C. Whitehouse              28                                    5/16/09
AsbestosfClienUBankruptcylWhitehouse Expert Report
            Case 01-01139-AMC            Doc 22766-18     Filed 08/13/09   Page 15 of 15



 (31/72) died with minimal or no interstitial disease (1/0 or less) (Exh. 7

 spreadsheets). There was more interstitial disease in the CARD mortality

 study than in the 123 patients studied in Whitehouse (2004). This is

 consistent with my clinical observation that interstitial disease often appears

 in the last years before death.

         Consistent with the pleural pattern is the statement in the Peipins et al

 (2003) abstract: "We observe pleural abnormalities in 17.8% of participants

 and interstitial abnormalities in less than 1% of participants undergoing

 chest radiography."

         35.     Pleural disease in the Libby area is widespread. The patient

 population is not concentrated in small geographical areas of higher

intensity dust contamination from W.R. Grace mining activities. Peipins et al

(2003), abstract, states: "Mining, handling, processing and personal or

commercial use of asbestos-contaminated vermiculite have led to

widespread cuntamination of the Libby, Montana area." Peipins et al (2003),

p.1754, states: "air sampling in downtown Libby in 1975 and at several

points in the 1980s detected levels of asbestos well above the OSHA

occupational limit of 0.1 fiber/cm3 over eight hours of exposure." A W.R.

Grace report, Source Emissions, Results of Surveys, 1975 is attached as Exh.·

20. Asbestos fiber levels were stated as 0.67, 1.5 and 1.1 for three locations

in the town of Libby in 1975. The town is about seven miles from the mine.


Expert Report by Dr. Alan C. Whitehouse              29                                    5/16109
AsbestoslClienUBankruplcylWhitehouse Expert Report
